[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                    ORDER APPOINTING SPECIAL MASTER 
IT IS ORDERED THAT,
1. Attorney Thomas F. Maxwell, Esquire is hereby appointed Special Master for this case.
2. The Special Master shall be authorized to hear and resolve all discovery and discovery disciplinary disputes between the parties that arise in this case and to make recommendations to the Court with respect to any such dispute which he is unable to resolve. All motions dealing with issues other than discovery shall be heard and decided in the first instance by the Court.
3. The Special Master shall also be authorized to hear, resolve and make recommendations to the court with regard to all discovery and disciplinary discovery disputes arising between a party and a non-party from whom discovery is sought, provided, however, that the non-party may object to the referral of a dispute to the Special Master, in which the event the objection shall be heard and decided by the Court.
4. The Special Master shall promptly hear all disputes that are properly before him pursuant to the authority granted in this Order and as to any dispute he is unable to resolve he shall file his recommendation in writing within ten calendar days following the hearing. The Special Master's recommendation shall be deemed confirmed and ordered by the court unless within five calendar days following the filing of the recommendation any party shall file a motion asking the Court to review the recommendation. In the event such a motion is filed, the matter shall be promptly referred to the Court for decision.
5. The parties shall raise issues for consideration by the CT Page 10646 Special Master by motion filed with the court with a copy hand delivered or telecopied to the Special Master at his ordinary place of business and served on opposing counsel by telecopy and mail. The party filing a motion shall state the reasons why it believes that the motion is appropriate for consideration by the Special Master. The Special master shall hear and act on the motion unless, within five days following its filing, the other party files an objection stating that motion is beyond the Special Master's authority. The Court shall rule upon any such objection before any action by the Special Master.
6. The motions listed on Schedule A attached are forthwith referred to the Special Master.
Dated at Bridgeport, Connecticut, this 31st day of July, 1998
The Court,
By A. William Mottolese, Presiding Judge — Civil
                               SCHEDULE ACV98 035 25 49S — PC Net v. Paul Zhitomi
Vanstar's Motion to Quash the Subpoenas of PC Net, Inc.             7/13/98 Motion for Exclusion of Deposition Testimony  Subpoenaed Documents  7/17/98 Motion for Protective Order                                          7/20/98 Vanstar's Motion to Quash Subpoenas and for a Protective Order       7/20/98 Motion for Protective Order                                          7/22/98 Motion to Quash Subpoenas                                            7/22/98 Motion to Quash Subpoenas                                            7/23/98 Objection to Vanstar's Motion to Quash Subpoenas of PC Net, Inc.    7/27/98 Motion to Compel Deposition Testimony                                7/27/98
CT Page 10647